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 8
 9                              UNITED STATES DISTRICT COURT
10                                  DISTRICT OF ARIZONA
11
     Sharmila Kirwin, et al.,                     No. CV-22-00471-TUC-RCC
12
                   Plaintiffs,                    MOTION TO FILE EXHIBITS
13                                                UNDER SEAL
     v.
14                                                Assigned to Hon. Raner C. Collins
     Dariusz Kot, et al.,
15
                   Defendants.
16
17           Defendants Kot, Egbert, and Necoechea (“Defendants”), through undersigned
18 attorney, move this Court to order that the exhibits to their Motion to Dismiss Plaintiff’s
19 First Amended Complaint be filed under seal.
20    No.                               DOCUMENT
21    1.  04-02-2021 – CAR Application and Order
             04-06-2021 – Levi Kirwin’s Motion for an Emergency Hearing Re: Requesting
22
      2.     An Order Vacating the Order for Ex-Parte Removal of Child Signed by the
23           Honorable Tracy Nadzieja; Request for Sanctions
24    3.     04-06-2021 – In Chambers’ Order Re Father’s Emergency Hearing
25           04-07-2021 – DCS’s Dependency Petition and Petition for Paternity and/or
      4.
             Child Support
26
       Case 4:22-cv-00471-RCC Document 97 Filed 06/10/24 Page 2 of 4




 1    5.    04-08-2021 – Temporary Orders and Findings
 2          04-08-2021 – Father’s Motion for the Court to Find Continued Temporary
            Custody is Not Necessary to Prevent Abuse or Neglect and Motion to Dismiss
 3    6.
            Dependency Petition due to Lack of Probable Cause for Removal Ariz. R.P. Juv.
 4          Ct. 51(A)
 5          04-21-2021 – Minute Entry Order – Preliminary Protective Hearing / Temporary
      7.
            Custody Hearing
 6
            04-21-2021 – Minute Entry Order – Continued Preliminary Protective Hearing /
 7    8.
            Temporary Custody Hearing
 8          11-08-2021 – Stipulation Re: Dependency Findings, Adjudication and
      9.
            Disposition
 9
      10.   11-15-2021 – Order Re: Dependency Findings, Adjudication and Disposition
10
      11.   02-23-2022 – Minute Entry Order – Dependency Review/Permanency Hearing
11          11-07-2022 – Motion to Withdraw Petition for Termination and Vacate Hearing
      12.
12          and Order Re: Motion to Withdraw Petition for Termination and Vacate Hearing
13
14          The Exhibits contain information that is protected including the full name of the
15 minor party, full names of non-party minors, addresses, personal phone numbers, medical
16 records, and other sensitive information regarding the minor party and the parties
17 regarding the underlying dependency matter. Among the state and federal statutes and
18 rules recognizing the confidentiality of these records is A.R.S. § 41-1959(A), which
19 prohibits releasing “files that contain information related to investigations conducted by
20 child protective services.” Additionally, “records of . . . dependency proceeding[s] shall
21 not be open to public inspection.”      A.R.S. § 8-208(F).    State laws that protect the
22 confidentiality of records in child-protective cases provide compelling reasons to grant a
23 motion to seal in a related case brought in federal court. See T.T. v. Cnty. of San Diego,
24 2020 WL 6118781, at *1 (S.D. Cal. Oct. 16, 2020) (allowing juvenile court records to be
25 sealed which were statutorily protected by state law). Accordingly, these exhibits which
26 contain sensitive information and are records from the underlying dependency

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 1 proceedings should be filed under seal pursuant to L.R.Civ. 5.6.
 2         For the reasons set forth above, Defendants respectfully request this Court order
 3 that Exhibits 1 through 12 to their Motion to Dismiss Plaintiff’s First Amended Complaint
 4 be filed under seal.
 5         RESPECTFULLY SUBMITTED this 10th day of June, 2024.
 6                                                 KRISTIN K. MAYES
                                                   ATTORNEY GENERAL
 7
 8                                                 /s/ Claudia Acosta Collings
                                                   CLAUDIA ACOSTA COLLINGS
 9                                                 KRISTIN A. GREEN
                                                   Assistant Attorneys General
10                                                 Attorneys for DCS Defendants
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 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on this 10th day of June, 2024, I caused the foregoing
   document to be electronically transmitted to the Clerk’s Office using the CM/ECF System
 3 for Filing and transmittal of a Notice of Electronic Filing to the following CM/ECF
   registrants:
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